                IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF TENNESSEE
                            AT KNOXVILLE



BOYD SMITH, NANCY SMITH,             )
JOEY SMITH, JEFFREY SMITH,
JILL SMITH, BESSIE HACKNEY,          )
WILLIAM GRAY, PEGGY GRAY,
GREGORY HOUSTON, ERNEST              )
NICELY, and PATRICIA NICELY,
                                     )
          Plaintiffs
                                     )
                       v.                            No. 3:04-cv-591
                                     )
FIRST CENTURY BANK, CONNIE
DYER, SHERI LAWSON, and              )
DELORIS GRAVES,
                                     )
          Defendants
                                     )
and
                                     )
FIRST CENTURY BANK,
                                     )
          Counter-Plaintiff
                                     )
                       v.
                                     )
BOYD SMITH, NANCY SMITH,
JOEY SMITH and JEFFREY SMITH,        )

          Counter-Defendants         )




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                            MEMORANDUM OPINION



            This now consolidated action was filed as the result of allegedly

fraudulent activity by defendant First Century Bank (FCB) and four of its former

employees, defendants Connie Dyer, Sheri Lawson, Deloris Graves, and Karen

Williams1 [see Doc. 193]. Very generally, plaintiffs allege that these defendants,

without permission, used plaintiffs’ identities and/or financial information to issue

loans, obtain credit, transfer funds, transfer property interests, and undertook other

financial transactions during the period from early 1992 through early 2004. This

action seeks compensatory, punitive and statutory damages, as well as injunctive

and equitable relief, pursuant to federal and state law as follows:


                (1)    Violation of the Racketeer Influenced and
            Corrupt Organizations Act (civil RICO), 18 U.S.C. §§ 1961,
            et seq. (Count I);

               (2)     Violation of the federal Consumer Credit
            Protection Act, 15 U.S.C. § 1681s-2 (Count II);

                 (3)   Violation of federal statutes and regulations to
            protect the confidentiality of consumer information (Count
            III);

               (4)    Violation of the Tennessee Identity Theft
            Deterrence Act of 1999, Tennessee Code Annotated §§
            47-18-2001, et seq. (Count IV);


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       Defendant Williams was dismissed by memorandum opinion and order filed on July
6, 2005 [see Docs. 42 and 43].

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                (5)     Violation of the Tennessee Consumer Protection
             Act, Tennessee Code Annotated §§ 47-18-101, et seq.
             (Count V);

                (6)    Violation of the Tennessee Financial Records
             Privacy Act, Tennessee Code Annotated §§ 45-10-101, et
             seq. (Count VI);

                 (7)     Breach of fiduciary duty (Count VII);

                 (8)     Conversion (Count VIII);

                 (9)     Negligence (Count IX); and

                (10)    Violation of the federal Consumer Credit
             Protection Act, 15 U.S.C. §§ 1601, et seq. (Count XI).2


             This matter is presently before the court on FCB’s motion for partial

summary judgment with respect to the civil RICO counts (Counts I) of the [corrected]

consolidated amended complaints (amended complaints).3 The issues raised have

been well briefed by the parties [see Docs. 206-1, 222, 230, 233 (filed under seal),

and 234; see also Docs. 223, 224, and 225 (all filed under seal)]. For the reasons

that follow, FCB’s motion will be granted, the court finding that there is no genuine

issue of material fact regarding the existence of a RICO enterprise or RICO

conspiracy set forth in this record so that summary judgment must be entered not


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        Count X seeks equitable relief only and therefore does not allege a particular cause
of action.
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        Count 1 of the amended complaint filed by plaintiffs Boyd Smith, Nancy Smith, Joey
Smith, Jill Smith, Bessie Hackney, William Gray, Peggy Gray, and Gregory Houston is set
forth at pp.78-92, and Count 1 of the amended complaint filed by plaintiffs Ernest and
Patricia Neely is set forth at pp.127-41.

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only in favor of FCB but also in favor of all other defendants with respect to the civil

RICO cause of action brought by plaintiffs. Moreover, because there are no other

federal causes of action pending against the individual defendants aside from civil

RICO, this court will decline to exercise supplemental jurisdiction over plaintiffs’ state

law claims against the individual defendants and those claims will be dismissed

without prejudice.



                                            I.

             Boiled down to its essential elements, the civil RICO count in both

amended complaints is that defendants Connie Dyer, Sheri Lawson and Deloris

Graves, along with former defendant Karen Williams and other unknown FCB

employees, constituted an “association-in-fact” enterprise under RICO and together

controlled and operated the Maynardville Branch of FCB as a RICO enterprise.

Plaintiffs also allege that FCB itself is a RICO enterprise. More specifically, plaintiffs

allege that a hierarchy existed in which defendant Dyer was the leader, defendant

Graves was second-in-command, and defendant Lawson and former defendant

Williams had control of some activities of the enterprise, but primarily followed the

lead of Dyer and Graves. Plaintiffs further allege that defendants Dyer, Graves, and

Lawson obtained funds from their racketeering activity and invested them in “their

enterprise” [see Doc. 193, pp. 86 and 135]; that through their pattern of racketeering

activity, they acquired or maintained an interest in or control of FCB, as well as their

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association-in-fact enterprise; that defendants Graves, Dyer, and Lawson controlled

and operated the Maynardville Branch of FCB through a pattern of racketeering

activity, along with their association-in-fact enterprise; and that defendants Dyer,

Graves and Lawson, along with other FCB representatives including Karen Williams,

conspired to engage in racketeering activity and to commit other RICO violations.

Plaintiffs allege that FCB, through its managing agents Graves and Dyer, operated

its Maynardville Branch through a pattern of racketeering activity, and that FCB

became a participant in the RICO enterprise by attempting to conceal all of this

fraudulent activity after it was discovered in the summer of 2004.



             In Counts I of the amended complaints, plaintiffs bring a cause of action

against all defendants based on violations of 18 U.S.C. §§ 1962(a)-(d) pursuant to

18 U.S.C. §1964(c)4. Sections 1962(a)-(d), entitled “Prohibited activities” provide:


                 (a)     It shall be unlawful for any person who has
             received any income derived, directly or indirectly, from a
             pattern of racketeering activity ... to use or invest, directly
             or indirectly, any part of such income, or the proceeds of
             such income, in acquisition of any interest in, or the
             establishment or operation of, any enterprise which is
             engaged in, or the activities of which affect, interstate or
             foreign commerce. ...

                (b)     It shall be unlawful for any person through a
             pattern of racketeering activity ... to acquire or maintain,

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        Section 1964(c) of RICO gives individuals a private right of action with recourse to
treble damages and reasonable attorney fees.

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              directly or indirectly, any interest in or control of any
              enterprise which is engaged in, or the activities of which
              affect, interstate or foreign commerce.

                 (c)       It shall be unlawful for any person employed by
              or associated with any enterprise engaged in, or the
              activities of which affect, interstate or foreign commerce, to
              conduct or participate, directly or indirectly, in the conduct
              of such enterprise’s affairs through a pattern of
              racketeering activity ... .

                 (d)      It shall be unlawful for any person to conspire to
              violate any of the provisions of subsection (a), (b), or (c) of
              this section.


(Emphasis added). Each of the above subsections, among other things, requires

that plaintiffs prove the existence of an enterprise.



              RICO defines an enterprise as “any individual, partnership, corporation,

association, or other legal entity, and any union or group of individuals associated

in fact although not a legal entity.” 18 U.S.C. § 1961(4). Thus, an enterprise can be

either a legal entity, such as a corporation, or an association-in-fact. See Crowe v.

Henry, 43 F.3d 198, 204 (5th Cir. 1995) (citation omitted). Without question, a bank

such as FCB is a legal entity which could be an enterprise under civil RICO.5 In


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         However, FCB cannot, under 18 U.S.C. § 1962(c), be both the “enterprise” and the
“person” conducting or participating in the affairs of that enterprise. See, e.g., Puckett v.
Tennessee Eastman Co., 889 F.2d 1481, 1489 (6th Cir. 1989). “Under the ‘non-identity’
or ‘distinctness’ requirement, a corporation may not be liable under section 1962(c) for
participating in the affairs of an enterprise that consists only of its own subdivisions, agents,
or members. Begala v. PNC Bank, Ohio, Nat. Ass’n, 214 F.3d 776, 781 (6th Cir. 2000).
“An organization cannot join with its own members to undertake regular corporate activity

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United States v. Turkette, 452 U.S. 576 (1981), the Supreme Court defined an

association-in-fact as “a group of persons associated together for a common

purpose of engaging in a course of conduct.” 452 U.S. at 583. Here, plaintiffs allege

four separate groups as the enterprise: (1) FCB; (2) the Maynardville Branch of

FCB; (3) the Maynardville Branch of FCB as well as an association-in-fact of

employees Dyer, Graves, Lawson and Williams; and (4) an association-in-fact of

Dyer, Lawson, Williams and Graves as well as other unknown FCB employees [see

Doc. 193, pp.78-79].6 The existence of an enterprise “is proved by evidence of an


and thereby become an enterprise distinct from itself.” 214 F.3d at 781 (citing United
States v. Computer Sciences Corp., 689 F.2d 1181, 1190 (4th Cir. 1982)). Because
plaintiffs allege in their amended complaint that FCB is, in effect, participating in the affairs
of an enterprise that consists only of its own agents or employees, plaintiffs have failed to
state a cause of action under § 1962(c) against FCB. Consequently, even if this court were
not inclined to grant FCB’s motion for partial summary judgment, the court would, for that
reason alone, grant that prong of FCB’s motion to dismiss with respect to subsection (c)
of the civil RICO statute.
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        In their response, plaintiffs contend, relying on the plain language of the statute (18
U.S.C. § 1961(4)), as well as an old Fifth Circuit case, United States v. Elliott, 571 F.2d
880, 898 (5th Cir.), cert. denied, 439 U.S. 953 (1978), that Dyer as an individual can
constitute an entire enterprise. However, this court soundly rejects the completely
unrestricted view of an individual as an enterprise espoused by cases such as Elliott. As
one treatise has observed:

              It is significant that the term “individual” is placed in a series of
              entities that connote legitimate businesses. The only way to
              make sense of the “individual” as enterprise is by interpreting
              it to refer to a business operated as a sole proprietorship. A
              single person criminal enterprise, a lone bank robber for
              example, is “an absurd notion.”

David B. Smith and Terrance G. Reed, Civil RICO, § 3.07[3] (1987) (quoting Tarlow, RICO
Revisited, 17 Ga. L. Rev. 291, 345 (1983)). This court is also unaware of any authority in
the Sixth Circuit embracing the unrestricted view of the Fifth Circuit that an individual can
constitute an enterprise nor have plaintiffs directed the court’s attention to any such

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ongoing organization, formal or informal, and by evidence that the various

associates function as a continuing unit.” Id.



             To constitute a RICO enterprise, an association-in-fact:


                (1)     must be an on-going organization;

               (2)      its members much function as a continuing unit;
             and

                (3)     it must be separate from the pattern of
             racketeering activity in which it engages.


Frank v. D’Ambrosi, 4 F.3d 1378, 1386 (6th Cir. 1993) (per curiam) (citing Turkette);

see also United States v. Davidson, 122 F.3d 531, 534 (8th Cir. 1997) (Turkette

factors include “whether the alleged enterprise has some common or shared

purposes, some continuity of structure and personnel, and a structure distinct from

that inherent in the alleged pattern of racketeering activity”), cert denied, 523 U.S.

1033 (1998). The “ongoing organization” requirement is co-extensive with the

existence of an organizational structure.


             To satisfy [the ongoing organization] element, the [plaintiff]
             must show that some sort of structure exists within the
             group for the making of decisions, whether it be
             hierarchical or consensual.       There must be some
             mechanism for controlling and directing the affairs of the
             group on an on-going, rather than an ad hoc, basis. This


authority.

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            does not mean that every decision must be made by the
            same person, or that authority may not be delegated.


United States v. Riccobene, 709 F.2d 214, 222 (3rd Cir. 1983), overruled on other

grounds, Griffin v. United States, 502 U.S. 46 (1991). Structure is “[t]he hallmark of

an enterprise.” United States v. Rogers, 89 F.3d 1326, 1337 (7th Cir. 1996) (citation

omitted), cert. denied, 519 U.S. 999 (1996). “An enterprise cannot simply be the

undertaking of the acts of racketeering, neither can it be the minimal association

which surrounds these acts.” United States v. Bledsoe, 674 F.2d 647, 664 (8th Cir.),

cert. denied, 459 U.S. 1040 (1982). As the Sixth Circuit has recently observed:


            The district court correctly recognized that the [elements of
            an association-in-fact] have been interpreted to require a
            certain amount of organizational structure which eliminates
            simple conspiracies from [RICO’s] reach. That is, simply
            conspiring to commit a fraud is not enough to trigger
            [RICO] if the parties are not organized in a fashion that
            would enable them to function as a racketeering
            organization for other purposes. Plaintiffs’ brief agrees,
            noting that the “hallmark of a RICO enterprise is its ability
            to exist apart from the pattern of wrongdoing.”


VanDenBROECK v. Commonpoint Mortg. Co., 210 F.3d 696, 699 (6th Cir. 2000).



            In their amended complaint, plaintiffs have attempted to “flesh-out” this

organizational structure by alleging an elaborate conspiracy in which defendants

Dyer, Graves, and Lawson, along with former defendant Williams, operated the



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Maynardville Branch of FCB as a criminal enterprise and also conducted the criminal

enterprise as a group of individuals associated in fact. Plaintiffs further allege that

the criminal enterprise had a chain of command in which defendant Dyer was the

leader, defendant Graves was second-in-command, and defendant Lawson and

Karen Williams followed their lead. It must be noted too that this alleged hierarchy

did not follow the actual structure of the Maynardville branch of FCB. There,

defendant Graves was the Branch Manager and defendant Dyer was the Assistant

Vice-President and Chief Loan Officer, which position was below the Branch

Manager.



            In support of its motion for partial summary judgment, FCB strikes at the

very heart of this purported organizational structure by filing the affidavit of Connie

Hunley, f/k/a Connie Dyer, in which she testifies verbatim as follows:


                                          ***

              2.      I was formerly employed by First Claiborne
            Bank, which later became First Century Bank. I left my
            employment with the bank in July 2004.

              3.       To the best of my knowledge, prior to my leaving
            my employment at the bank, no officer, director, employee
            or other person who worked at the bank, other than myself,
            was aware that I had performed any illegal acts, or that I
            had performed any transactions in the names of bank
            customers who had not authorized those transactions.




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               4.       Prior to my leaving my employment with the
            bank, I did not inform any bank officer, director, employee
            or other person who had worked at the bank that I had
            done any illegal acts or that I had performed any
            transactions in the names of bank customers who had not
            authorized those transactions. To the best of my
            knowledge, no officer, director, employee or other person
            who worked at the bank ever knowingly assisted me in
            doing illegal acts or in performing such unauthorized
            transactions.


[See Doc. 206-2, p.2]. Likewise, at her deposition, defendant Dyer testifies that to

the best of her knowledge, defendants Graves and Lawson did not benefit from any

of the illegitimate loans or transactions in which Dyer engaged [see Doc. 206-3].

Defendant Dyer also testifies that she concealed the illegitimate loans and

transactions from defendants Graves and Lawson [id.]. Moreover, to the best of

defendant Dyer’s knowledge, neither defendant Graves nor defendant Lawson knew

about any of the illegitimate loans and transactions [id.].



            The court takes judicial notice of the fact that defendant Dyer entered

a plea of guilty on April 19, 2006, before the Honorable Thomas A. Varlan, United

States District Judge, to an information charging her with bank fraud arising out of

these same facts and circumstances [see Docs. 6 and 7 in 3:06-cr-45]. The extent

and length of Dyer’s illegal activities at the Maynardville branch of FCB is almost

incomprehensible. Among other things, Dyer agreed to the following facts in the

Agreed Factual Basis for her guilty plea:

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                                     ...

            3.      Dyer, while an assistant branch manager and
         branch manager of FCB[,] embezzled money then under
         her custody and control in her capacity as a FCB manager
         from the checking and savings accounts of FCB customers
         and used said embezzled funds (a) for her personal
         benefit, (b) to make payments on fraudulent loans that
         Defendant fraudulently approved in her capacity as an FCB
         manager, (c) to conceal her embezzlement of funds
         embezzled from other FCB customer accounts, and (d) to
         conceal her violations of FCB policy in approving loans to
         individuals who did not qualify for such loans under FCB’s
         loan approval guidelines.

            4.     From November 13, 2002, through July 12,
         2004, Dyer made at least nine (9) unauthorized
         withdrawals from at least nine (9) different FCB customer
         accounts. From November 13, 2002, through July 12,
         2004, Dyer embezzled at least $309,686.59 from the
         checking and savings accounts of FCB customers then
         under her custody and control in her capacity as an FCB
         manager.

                                     ...

            7.       From March 14, 1997, through July 26, 2004,
         Dyer, while an assistant branch manager of [FCB]
         Maynardville, Tennessee, prepared, submitted and
         approved false and fraudulent loan applications in the
         names of [FCB] customers without the FCB customers’
         permission and used the proceeds of those loans (a) for
         her personal benefit, (b) to make payments on other
         fraudulent loans that Defendant fraudulently approved in
         her capacity as a manager of said financial institution, (c)
         to conceal her embezzlement of funds stolen from FCB
         customer accounts, and (d) to conceal her violations of
         FCB policy in approving loans to individuals who did not
         qualify for such loans under FCB’s loan approval
         guidelines.

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               8.      From March 14, 1997, through July 26, 2004,
            Dyer abused her position of private trust by approving in
            her capacity as an FCB manager at least thirty-nine (39)
            loan applications that she had fraudulently prepared and
            submitted to FCB. In obtaining these fraudulent FCB
            loans, Dyer used without permission the names and social
            security numbers of at least nine (9) individuals. From
            March 14, 1997 through July 26, 2004, Dyer fraudulently
            obtained from FCB and directed the use of at least
            $489,727.48 in fraudulent FCB loan proceeds.


[See Doc. 7 in 3:06-cr-45, pp.2,4]. That Agreed Factual Basis also sets forth various

mechanisms which Dyer employed to conceal her various illegal activities. All in all,

Dyer agreed that her scheme to defraud FCB resulted in FCB sustaining a loss of

$600,000 [see id., p.8].



            Based on the information set forth in that Agreed Factual Basis, Judge

Varlan sentenced Dyer to a term of imprisonment of 41 months on July 18, 2006

[see Doc. 12 in 3:06-cr-45]. It must be further noted that Dyer entered into a

cooperation plea agreement with the government in which she agreed, among other

things, as follows:


                  Defendant agrees to cooperate fully, truthfully and
            completely with any and all law enforcement agents and
            offices including, but not limited to, the United States
            Attorney’s Office for the Eastern District of Tennessee, in
            the investigation and prosecution of other persons, and to
            testify, subject to a prosecution for perjury or making a
            false statement, fully and truthfully before any federal court
            proceeding or federal grand jury in connection with the

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             charges in this case and other matters, such cooperation
             to further include a full and complete disclosure of all
             relevant information, including production of any and all
             books, papers, documents, and other objects in
             defendant’s possession or control, and to be reasonably
             available for interviews which the United States may
             require.


[See Doc. 6, p.7 in 3:06-cr-45]. Even more significantly, defendant Dyer’s plea

agreement provides that, if defendant’s cooperation rises to the level of “substantial

assistance,” then the government, in its discretion, could file a motion for downward

departure which might generate a sentencing break for this defendant. However, to

date, there has been no such motion filed by the government because it appears

that defendant Dyer has testified that she acted alone and is therefore unable to

implicate anyone else. The court would further note that this defendant’s Agreed

Factual Basis provides numerous incidents of bank fraud, all of which were

undertaken solely by defendant Dyer [see Doc. 7 in 3:06-cr-45].



             Plaintiffs’ response to Dyers’ affidavit and her deposition testimony is not

surprising. Plaintiffs take the position that it is quite understandable that Dyer would

deny being at the helm of a RICO enterprise “because admission of her involvement

in such an enterprise would increase her exposure to both civil and criminal liability.”

[See Doc. 222, p.2]. The court vigorously disagrees. It has been the court’s

experience, during the last 22 years on the federal bench, that a white collar



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criminal, such as Dyer, would never fail to identify all other members of a conspiracy,

if indeed one exists. In fact, a defendant’s full and substantial cooperation is about

the only mechanism available if a defendant wishes to receive a significant

sentencing break. In other words, if Dyer is withholding information either from the

government or from these plaintiffs during her deposition, then this withholding of

information about other co-conspirators would be the first time that this court is

aware that a white collar defendant has done so.7



              Thus, plaintiffs cannot prove the existence of a RICO conspiracy or an

enterprise with any direct evidence in light of Dyer’s testimony that she acted alone

and that the remaining two individual defendants had no knowledge of her illegal

activities.8 Cf. United States v. Johnson, 430 F.3d 383, 392 (6th Cir. 2005) (the


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        The court further observes that the notion of being a “stand up” defendant is a more
common phenomenon in the context of a drug conspiracy case. There, a defendant will
sometimes enter into a non-cooperation plea agreement because of an understandable
reluctance to be identified as a government “snitch” prior to federal incarceration. Again,
the converse is true with respect to white collar criminal defendants who squeal quickly and
loudly.
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         In her declaration filed in support of her pending motion for summary judgment,
defendant Graves similarly testifies that she did not participate or engage in any of the
alleged forgeries, fraud and illegal conduct that plaintiffs have alleged in this case; that she
received no money, property or other benefit as a result of the alleged forgeries, fraud and
unlawful conduct; and that during her employment with FCB, she was not aware, and did
not even suspect, that anyone, including defendant Dyer, engaged in any of the alleged
forgeries, fraud and unlawful conduct which plaintiffs have alleged [see Doc. 171-2].
Defendant Lawson, in support of her motion for summary judgment, simply relies on
defendant Dyer’s testimony that Lawson did not participate in or benefit from any of the
illegal loans or transactions in this case, nor did Dyer tell Lawson about any of her illegal
activities [see Docs. 203-1 and 203-2].

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members of the alleged enterprise considered themselves to be part of a “business”

and that “business” was crime; moreover, the members met on an almost-daily

basis to discuss their criminal activities). Because plaintiffs have no direct proof of

any RICO enterprise, plaintiffs are forced to rely on very sparse circumstantial

evidence to establish this purported “chain of command” or other hierarchy. For the

reasons that follow, the court finds that this evidence falls woefully short of

establishing any ongoing organization, nor does it establish that these individuals

functioned as a continuing unit, nor does it establish that the organization was

separate from the pattern of racketeering activity in which it engaged. The court will

now examine plaintiffs’ circumstantial evidence.



            Plaintiffs first assert that there is evidence that defendants Graves and

Lawson, as well as Karen Williams, signed customers’ names to financial

documents. Defendant Dyer testifies that Graves signed the names of Graves’ two

sons to loan documents and that Lawson signed her mother’s name to a loan

document. Dyer also testifies that Lawson and Graves may have signed a form to

complete a transaction if a customer had failed to sign it. There is also testimony

that Karen Williams had signed her husband’s name to a loan document.

Additionally, there is evidence that on one occasion Dyer and Graves had violated

FCB’s lending policy when Dyer handled a loan to Graves’ son; however, no forgery

was involved. There is also evidence that Lawson was reprimanded for the method

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in which she withdrew money from her mother’s savings account, but the withdrawal

was with her mother’s permission and the reprimand was based on the method of

withdrawal - not the withdrawal itself. In the court’s view, this evidence does not

even rise to the level of a simple conspiracy, much less a RICO conspiracy which

is required to establish an enterprise in a RICO case. See VanDenBROECK, 210

F.3d at 699. At most, this evidence shows improprieties regarding how defendants

Lawson and Graves dealt with family financial matters at FCB.



            Plaintiffs have also produced evidence that defendant Graves did not

comply with the bank’s notary policy because, on occasion, she would notarize

customers’ signatures on documents without personally observing the customers

sign. Plaintiffs rely heavily on Graves testimony that she did this four or five times.

Nevertheless, Graves testifies that she was confident that each time she notarized

a document where she did not actually see the person sign it, the person was in the

bank at the time, and she would not have notarized it had she not seen the

customer. Plaintiff Patricia Nicely alleges that her signature was forged on one

document which defendant Graves notarized. Plaintiffs also assert that Graves

signed a deed of trust modification as a representative of FCB, and that the

customers’ signatures on that document were forged. However, defendant Graves

did not notarize those signatures. Finally, plaintiffs assert that in one instance,

Lawson notarized allegedly forged signatures on a modification of deed of trust and

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that on two occasions Karen Williams notarized signatures that were allegedly

forged.



            Again, this evidence, in the court’s view, does not rise to a sufficient

level to establish a complex RICO conspiracy. At best, this evidence rises to ad hoc

instances of fraud or perhaps sloppy or negligent banking practices. This evidence

does not rise to the threshold level of demonstrating an organization which would

enable them to function as a racketeering organization for other purposes. See

VanDenBROECK, 210 F.3d at 699. This evidence does demonstrate perhaps the

minimal association which surrounds the underlying racketeering acts, which is

insufficient. See Bledsoe, 674 F.2d at 664.



            Plaintiffs also rely on a number of instances in which there were

transactions in savings accounts held by defendant Lawson and her son and mother,

the largest one being $10,000. During her deposition, Lawson testifies that she

could not recall the source of the funds nor could she recall them with certainty.

Plaintiffs assert that these transactions are evidence from which a reasonable jury

could conclude that there was a RICO enterprise and that Lawson was laundering

ill-gotten gains through her savings account. Again, however, this inference, even

if permitted, would not allow a reasonable jury to conclude that the money was being




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generated for the benefit of the so-called enterprise; rather, it would only be

generated for the benefit of defendant Lawson.



             Plaintiffs next cite evidence that defendant Lawson, or someone using

her computer password, prepared a number of loan documents. Plaintiffs allege that

their signatures on those documents were forged. The proof indicates that Lawson

was employed as a loan processor by FCB and that it was her job to prepare loan

documents. The loan officers would give Lawson information such as the terms of

the loans, customers’ names, etc. Lawson would then type the information into a

computer, which would then print the loan documents. Later, the customer would

sign the documents. There is no direct evidence that Lawson forged anyone’s name

on these documents. Plaintiffs do allege, however, that their signatures were forged

on a number of loan documents which Karen Williams initialed and on one which she

signed. Karen Williams was also a loan processor, and the loan processors would

initial documents so that the main office would know whom to call if there were

questions about the documents. All of this, of course, was a routine part of the loan

processor’s job. Additionally, plaintiffs point out that a number of loan checks were

made payable to plaintiffs and signed by Lawson, Williams or Graves. Graves also

signed a cashier’s check payable to plaintiff Patricia Nicely. Plaintiffs claim that their

endorsements on the checks were forged or that the checks were negotiated without

their permission. Once again, signing loan checks was a routine part of the loan

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processor’s job and signing checks was also a part of the job of a loan officer such

as Graves.



              In short, plaintiffs offer no evidence that Graves, Lawson or Williams

forged anyone’s signature on these documents or knew that the signature was

forged. The evidence does show that these bank employees prepared documents

that they were routinely required to prepare and sign in the course of their duties as

a loan processor (in the case of Lawson and Williams) and a loan officer (in the case

of Graves).    But even if the court or jury were to read into these inferences

everything which plaintiffs suggest, all of this evidence still does not rise to the

necessary threshold of demonstrating that there was some sort of RICO enterprise

separate from this purported pattern of racketeering activity in which it engaged. All

of this evidence points only to the so-called racketeering activity itself, which is

insufficient. See Frank v. D’Ambrosi, 4 F.3d at 1386.



              In an attempt to resurrect the specter of a RICO conspiracy, plaintiffs

also highlight the timing and circumstances of the termination of each of the

individual defendants. It is undisputed that defendant Dyer was fired by FCB in the

latter part of July 2004. Graves had been forced to resign in February 2004 because

FCB was concerned that she had overdrafts in her checking account and had a

delinquent credit card account. Plaintiffs assert, of course, that based on the

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evidence that Graves had financial problems, a reasonable jury could infer that she

participated in a RICO conspiracy with Dyer and others to steal money from FCB

and its customers. While this evidence might be relevant if plaintiffs were able to

establish a RICO enterprise, the court agrees with FCB that it cannot create a RICO

conspiracy based on that fact standing alone.



             Similarly, the evidence indicates that Karen Williams had resigned

several years earlier in November 2001, and there is certainly no evidence to

connect her resignation to the existence of a RICO enterprise dedicated to stealing

money from FCB and its customers. This is especially true given the fact that this

court has already dismissed Karen Williams as a defendant in this case based on

the failure of plaintiffs to properly plead a civil RICO cause of action against her [see

Docs. 42 and 43].



             It is also undisputed that Lawson resigned from the bank in July 2004,

prior to the termination of Dyer, and took a job with fewer fringe benefits than she

had with FCB. Plaintiffs contend that Lawson would not have made such a job

change unless she was a participant in a RICO enterprise and therefore resigned to

avoid being fired for her participation in that fraudulent scheme. Nevertheless, this

inference does not create the existence of any RICO enterprise which is required

under all of the statutes relied on by plaintiffs.

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            Plaintiffs next contend that Dyer’s fraudulent activities “were so frequent

and over such an extended period of time that the only reasonable inference to be

drawn is that other bank employees participated in the transactions or, at a

minimum, engaged in ‘willful blindness’ to allow the scheme to continue.” [See Doc.

222, pp.3-4]. The court agrees with FCB that a jury may not rely on a defendant’s

“deliberate ignorance” as the basis for finding that a defendant participated in a

conspiracy. “Deliberate ignorance” may be used to prove that a conspirator knew

of the unlawful aims of a conspiracy in which he knowingly participated, but

“deliberate ignorance” may not be used to prove that the defendant was a member

of the conspiracy in the first place. United States v. Warshawsky, 20 F.3d 204, 211

(6th Cir. 1994). Consequently, plaintiffs cannot rely on “deliberate ignorance” or

“willful blindness” to demonstrate that other FCB employees participated with Dyer

in a RICO conspiracy.



            Plaintiffs’ final argument is that the court should delay any decision on

FCB’s motion for partial summary judgment until plaintiffs have had an opportunity

to conduct more discovery. The record reflects that this case was filed more than

two years ago and, according to FCB, more than 20,000 pages of documents have

been produced by it. The record further reflects that the depositions of all of the

individual defendants have been taken, as well as a number of other witnesses.

Plaintiffs’ request is also not supported by an affidavit which details the discovery

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needed, states what material facts plaintiffs hope to uncover, and explains why

plaintiffs have not previously discovered the information. See Fed. R. Civ. P. 56(f).

Moreover, plaintiffs must explain exactly how obtaining the additional discovery will

help rebut defendants’ showing of the absence of a genuine issue of material fact.

Gettings v. Building Laborers Local 310 Fringe Benefits Fund, 349 F.3d 300, 304-05

(6th Cir. 2003) (citation omitted). The court agrees with FCB that plaintiffs have not

made a proper showing under either the Federal Rules of Civil Procedure or the

case law for additional time.



             More importantly, however, the court cannot envision how additional

discovery will help plaintiffs with their present difficulty, which is creating a genuine

issue of material fact regarding a civil RICO enterprise. The evidence in this case

demonstrates that defendant Connie Dyer acted alone. At most, the evidence

indicates that defendant Dyer may have involved other employees unwittingly in her

various schemes, but that they did so as employees of FCB, not as part of some sort

of separate civil RICO enterprise. There is certainly no evidence in this case that

these three individual defendants operated as some formal or informal organization

or that they functioned as a continuing unit or that their organization was separate

from the pattern of racketeering activity in which it engaged. It is, of course, possible

that the defendants other than Dyer may also have engaged in some sort of

separate fraud involving their own family members and, if that be the case, then

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plaintiffs can pursue those causes of action as the evidence dictates. But this

evidence does not suggest that these individual defendants operated on anything

but an ad hoc basis. Moreover, because these individual defendants do not

comprise a separate enterprise, it naturally follows that neither FCB nor the

Maynardville Branch of FCB comprises a separate RICO enterprise aside from these

employees.



             This litigation has been allowed to proceed as long as it has because the

court was initially concerned that there might be some sort of civil RICO organization

involved, given the unprecedented length of the events at issue at FCB. The court

was initially concerned too that there might be “something more” in this case other

than mismanagement and oversight by FCB. However, after all of this voluminous

discovery has been completed, the notion of a civil RICO conspiracy completely

evaporates in light of the record as it has been developed to date. The court

concludes that there is no proof in this record to demonstrate “an organizational

pattern or system of authority [which] ... provide[d] a mechanism for directing the

group’s affairs on a continuing, rather than an ad hoc, basis.” United States v.

Kragness, 830 F.2d 842, 856 (8th Cir. 1987) (citations omitted); see also Delta

Truck and Tractor, Inc. v. J. I. Case Co., 855 F.2d 241, 244 (5th Cir. 1988) (finding

that alleged racketeering activity was “nothing more than numerous predicate acts

which were necessary segments of an otherwise legitimate and singular commercial

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endeavor”). Plaintiffs have simply failed, after being given more than ample time, to

produce any evidence of a civil RICO enterprise.



                                           II.

             Summary judgment is proper where "the pleadings, depositions,

answers to interrogatories, admissions on file, together with the affidavits, if any,

show that there is no genuine issue as to any material fact and that the moving party

is entitled to judgment as a matter of law." Fed. R. Civ. P. 56(c). Initially, the burden

is on the moving party to conclusively show no genuine issues of material fact exist.

Leary v. Daeschner, 349 F.3d 888, 897 (6th Cir. 2003), and the court must view the

evidence and draw all reasonable inferences therefrom in the light most favorable

to the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

574, 587-88 (1986). However, the nonmoving party is not entitled to a trial merely

on the basis of allegations, but must come forward with some significant probative

evidence to support its claim. Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986).

If the nonmoving party fails to make a sufficient showing on an essential element of

its case with respect to which it has the burden of proof, the moving party is entitled

to summary judgment. Id. at 323.



             The court determines whether sufficient evidence has been presented

to make the issue of fact a proper jury question; but does not weigh the evidence,

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judge the credibility of witnesses, or determine the truth of the matter. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 249 (1986); Weaver v. Shadoan, 340 F.3d 398,

405 (6th Cir. 2003). The standard for summary judgment mirrors the standard for

directed verdict. Anderson, 477 U.S. at 250. The court must decide “whether the

evidence presents a sufficient disagreement to require submission to a jury or

whether it is so one-sided that one party must prevail as a matter of law.” Id. at 251-

52. There must be some probative evidence from which the jury could reasonably

find for the nonmoving party. If the court concludes a fair-minded jury could not

return a verdict in favor of the nonmoving party based on the evidence presented,

it may enter a summary judgment. Id.; Lansing Dairy, Inc. v. Espy, 39 F.3d 1339,

1347 (6th Cir. 1994).



                                          III.

            Applying the above standard to the record in this case, the court will

grant FCB’s motion for partial summary judgment, the court finding that there is no

civil RICO enterprise as required to sustain Counts I of the amended complaints.

That being the case, Counts I of the complaints must be dismissed not only against

FCB but also against all other defendants. Furthermore, because the remaining

counts against the individual defendants set forth causes of action under either

Tennessee statutes or Tennessee common law, this court will decline to exercise

supplemental jurisdiction over plaintiffs’ state law claims against the individual

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defendants. See 28 U.S.C. § 1367(c)(3). See also United Mine Workers of Am. v.

Gibbs, 383 U.S. 715, 726 (1966) (“Certainly, if the federal claims are dismissed

before trial, even though not insubstantial in a jurisdictional sense, the state claims

should be dismissed as well.”).



            Order accordingly.


                                                      s/ James H. Jarvis
                                               UNITED STATES DISTRICT JUDGE




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